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                    IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE


 BAXALTA INCORPORATED
 and BAXALTA GMBH,
                                 Plaintiffs,
                                                     C.A. No. 17-509-TBD
        v.
                                                     PUBLIC VERSION
 GENENTECH, INC. and
 CHUGAI PHARMACEUTICAL CO., LTD.,
                                 Defendants.


  MEMORANDUM IN SUPPORT OF GENENTECH, INC.’S UNOPPOSED RENEWED
    AND NARROWED MOTION TO SEAL AND MAINTAIN AS CONFIDENTIAL
  CERTAIN PASSAGES OF THE SUMMARY JUDGMENT HEARING TRANSCRIPT


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 December 2, 2021
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 a party’s request. See, e.g., id. at 667; Mosaid Techs. Inc. v. LSI Corp., 878 F. Supp. 2d 503, 511

 (D. Del. 2012); Genentech, Inc. v. Amgen, Inc., 2020 WL 9432700, at *4 (D. Del. Sept. 2, 2020),

 report and recommendation adopted, 2020 WL 9432702 (D. Del. Oct. 1, 2020). The interest in

 protecting this type of information is commonly found to outweigh the presumption of public

 access. See Mosaid, 878 F. Supp. 2d at 511; Gabapentin, 312 F. Supp. 2d at 667–68. The Court

 should maintain its confidentiality here.

                                             CONCLUSION

         For the foregoing reasons, the Court should grant Genentech’s unopposed renewed and

 narrowed motion to seal and maintain as confidential the referenced passages of the transcript of

 the November 19, 2021 oral argument, as outlined above and set forth the attached highlighted

 transcript.




                                                 2
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                                CERTIFICATE OF SERVICE

          I hereby certify that on the 2nd day of December, 2021, the attached MEMORANDUM

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 MOTION TO SEAL AND MAINTAIN AS CONFIDENTIAL CERTAIN PASSAGES OF

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                 EXHIBIT A
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                                                                    Page 1

 1                   UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE
 2
        ---------------------------x
 3      BAXALTA INC., et al.,                 :
                                               :
 4                     Plaintiffs,            :
                                               :
 5                    v.                      : No. 17-509-TBD
                                               :
 6      GENENTECH, INC., et al.,              :
                                               :
 7                     Defendants.            :
        ---------------------------x
 8
                                                   717 Madison Pace, NW.
 9                                                         Washington, D.C.
10                                         Friday, November 19, 2021
11
12
13
14
15
16                   The HEARING in the above-entitled matter
17      was convened at 10:00 a.m. pursuant to notice.
18      BEFORE:
19                   JUDGE TIMOTHY B. DYK
20
21
22

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                                                                   Page 2

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 1                        P R O C E E D I N G S

 2                    BAILIFF:     All rise.          The United States

 3      District Court for the District of Delaware is now

 4      open and in session, the Honorable Judge Timoth B.

 5      Dyk presiding.

 6                    JUDGE DYK:       Thank you. Be seated.          Okay

 7      as far as masking is concerned when you're

 8      speaking at the podium you can remove the mask.

 9      Otherwise keep them on.             I'm going to divide this

10      hearing into two parts.             The first will deal with

11      written description of enablement and then the

12      second part will deal with the document of

13      equivalence and, and the willful infringement

14      issue.      Now I know there's a motion to seal and

15      I'm going to deny that motion but let me explain

16      how we'll do this.         I'm not, by denying the motion

17      I'm not saying that you can or should disclose

18      confidential information in your argument.                  It

19      just seems to me that given the information that

20      you talked about as being confidential it's easy

21      enough to talk about it in more general terms so

22      that you don't disclose the particular information




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                                                                   Page 4

 1      that you view as confidential, so this is not a

 2      ruling that the material is not confidential.                    It

 3      is simply a ruling we are not going to conduct the

 4      proceeding in such a way that the information has

 5      to be disclosed.        So you can confer, I think it

 6      all comes up in, only in connection with the set

 7      claims of our hearing, so you can talk about that

 8      and attorneys can figure out how to describe this

 9      in a way that doesn't disclose the confidential

10      information.       Are there any questions about that?

11                   MR. STONE:        Your Honor, Eric Stone for

12      Genentech.      The court ruling is clear.             We, we

13      agree within ourselves that we can, we were going

14      to do that anyway essentially with respect to

15      local infringement.          I think that the document of

16      equivalence one is a little more difficult but let

17      us talk about it during the break and see if we

18      can agree on some ways to approach that and if we

19      have concern, we'll raise it between the arguments

20      but I hopeful that we will not need that.

21                   JUDGE DYK:        I have one question before

22      we start this settlement.              Have you guys discussed




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 1      not do that, Your Honor.              Thank you.

 2                   JUDGE DYK:        Now just one other comment.

 3      I, I'm going to assume that I've read the expert

 4      reports and I think I've read all of the relevant

 5      parts of the depositions, too, so in your

 6      presentation you don't need to go through what's

 7      in there.     I, I do express a little frustration

 8      with the state of the record and that is I'm

 9      obviously not a scientist.               I come to this with

10      the knowledge that you provide me.                  I don't want

11      my decision to be based on my internet research

12      and I think there are some areas here where it

13      needs to be fleshed out a little bit as to what's

14      going on and I think, we'll see what happens at

15      the end of the hearing but we may get to the point

16      that I'm going to ask you to try to come up with a

17      stipulation that will flesh this out a little bit.

18      I think these are things that, that shouldn't be

19      disputed and that you have to be able to agree on

20      that would be a useful stipulation both for

21      summary judgement purposes and for the trial if we

22      have one.     You'll see as we go along what sorts of




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                                                                   Page 134

 1                   MS. GORDON:         So, the issue is whether

 2      they may rely on the doctrine of equivalents to

 3      prove that batches of Hemlibra that contain not

 4      only emicizumab, the bispecific antibody, but a

 5      sequence variant of emicizumab infringed the

 6      asserted claims.        Or whether they are precluded

 7      from using the doctrine by file wrapper estoppel

 8      or disclosure-dedication.              And if they are

 9      precluded from using either one of those, then

10      those batches of Hemlibra that contain the

11      sequence variant would be non-infringing, which I

12      believe can be decided as a matter of law if they

13      can't pass these threshold issues.

14                   So, the focus of our argument is on the

15      claim term isolated, which appears in Claim 1.                      It

16      modifies antibody or antibody fragment.                    It was

17      added at the end of prosecution.                    And the court

18      has construed isolated to mean that all antibody

19      molecules and all fragment molecules in the

20      claimed composition have identical amino acid

21      sequences except for any post-translational

22      modifications.




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                                                                 Page 136

 1      infringement.       Granting Genentech's motion would

 2      greatly simplify the infringement and damages

 3      issues for trial.         Indeed, if Baxalta is precluded

 4      from relying on the doctrine of equivalents, the

 5      damages calculations in this case will change

 6      dramatically.

 7                   Now, I'd like to start out on

 8      prosecution history estoppel.                 For prosecution

 9      history estoppel by claim amendment, two issues

10      have to be resolved.           The first issue is a

11      two-part issue and that is whether the claim

12      amendment was narrowing and whether it was made

13      for reasons related to patentability.                 And if the

14      answer to that is yes, that will trigger the Festo

15      presumption that the scope, the territory between

16      the originally worded claim and the amended claim

17      has been surrendered.            Then that next issues

18      becomes can that Festo presumption of surrender be

19      overcome by one of the Festo exceptions?

20                   So, going through what happened during

21      prosecution, the examiner called up at the end of

22      2004, initiated a telephonic interview asking




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 1      with that assessment as did Genentech.                   The

 2      court's decision, which is DI330 at page 26,

 3      similarly says, we do not have an explanation on

 4      this record for why this amendment of isolated

 5      took place.

 6                   And in a situation where you have an

 7      unexplained narrowing amendment, both

 8      Warner-Jenkinson and Festo provide insight as to

 9      what the consequences of this is.                   And first, if

10      there's no -- the narrowing amendment made for

11      reasons of patentability, the first thing is the

12      Warner-Jenkinson presumption that the amendment

13      was made for reasons related to patentability.

14      And then the Supreme Court in Festo a couple of

15      years later, added the Festo presumption that on a

16      record where it's unexplainable why the amendment

17      got made, that that would surrender the scope

18      between the originally worded claim and the

19      amended claim.       And when that happens, we suggest

20      to you, Your Honor, that the presumption now

21      becomes irrebuttable that they gave up scope and

22      that the amendment was made for reasons of




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                                                                 Page 147

 1      to please don't make any noise because you're

 2      coming across there.           Thank you.

 3                     MS. GORDON:       Okay.

 4                     JUDGE DYK:      Okay, thank you.

 5                     MS. GORDON:       Okay.       I was just going to

 6      say a couple of quick things about

 7      disclosure-dedication.            So --

 8                     JUDGE DYK:      Let's save it for rebuttal.

 9                     MS. GORDON:       Save it, okay.       Thank you,

10      Your Honor.

11                     JUDGE DYK:      Ms. Fowler?

12                     MS. FOWLER:       May it please the Court,

13      prosecution history estoppel --

14                     JUDGE DYK:      Before you get into

15      prosecution history estoppel, do you agree there's

16      no literal infringement?

17                     MS. FOWLER:       No, Your Honor.

18                     JUDGE DYK:      You don't?

19                     MS. FOWLER:       That's still a disputed

20      fact.       It's still whether there is -- there is

21      literal infringement that is at play and there is

22      doctrine of equivalents infringement that is still




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                                                                   Page 159

 1      care about.

 2                   That process, that's what gets us the

 3      isolated antibody or antibody fragment.                    And, Your

 4      Honor asked why does the tangential exception --

 5                   JUDGE DYK:        So, why does that show that

 6      it's isolated instead of your original

 7      construction essentially composed of (inaudible)?

 8                   MS. FOWLER:         Your Honor, the original

 9      proposed construction that Genentech offered

10      during the Markman phase was trying to distinguish

11      between purification and isolation.                    And that is

12      --

13                   JUDGE DYK:        Well, your view was that the

14      claims didn't require isolation.                    They didn't

15      require purity.        And that it should be construed

16      more loosely to require that it essentially be

17      this particular antibody.              And now, it seems to me

18      you're making an opposite argument that from the

19      beginning purity was a requirement here, which it

20      does not seem to me entirely consistent with what

21      you said before.

22                   MS. FOWLER:         Your Honor, I can




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                                                                 Page 160

 1      understand why at face value you may think that.

 2      But if you bear with me, those -- either

 3      construction that was proposed by either party at

 4      Markman is not inconsistent with what we're saying

 5      now.        Again, there is no question that the

 6      applicants were always concerned with getting to a

 7      homogenous cell line that has the antibody of

 8      interest in it.        That's never been disputed and

 9      it's never been disputed that you would have that

10      particular isolated antibody at that point.

11                      Whereas, Baxalta was more focused on the

12      process that went into how you get there,

13      Genentech was focused on the outcome.                 So, the

14      parties' counterproposals were not inconsistent

15      with respect to the isolated antibody and antibody

16      fragment that we have here.                And so, if we are to

17      assume that there was an error in amendment, which

18      we do not concede, and if then the

19      Warner-Jenkinson presumption applies, Your Honor

20      asked how is this tangentially related to that?

21                      We see that we went from, if anything,

22      nonhomogeneous cell lines to homogeneous cell




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 1                   Narrowing Claim 1 from nonhomogeneous

 2      cell populations to homogenous cell populations is

 3      tangential to a variant with 99.9 percent sequence

 4      identity formed by chance during a much later cell

 5      culture process.

 6                   JUDGE DYK:        Okay.

 7                   MS. FOWLER:         For the same reasons, I

 8      understand Your Honor will provide opposing

 9      counsel with a brief moment to address the

10      disclosure-dedication doctrine.                     I think I can

11      address it very briefly and perhaps --

12                   JUDGE DYK:        No, go ahead.

13                   MS. FOWLER:         -- and perhaps foreclose a

14      surrebuttal request.           So, the variant is not

15      unclaimed subject matter that's disclosed in the

16      specification as an alternative to a relevant

17      claim limitation.         In their briefing, Genentech

18      again points to that column 9 passage that's

19      talking about preparations that may contain

20      mixtures of antibodies.             So, first, that does not

21      disclose the variant at issue for the reasons

22      we've already discussed.              Even so, it was claimed




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                                                                    Page 163

 1      that mixture of antibodies that is separate and

 2      apart from Claim 1 was claimed in Claims 15 and

 3      16, as we discussed.

 4                     Even if that column 9 passage were

 5      somehow about Claim 1, the passage is too generic

 6      for a person of ordinary skill in the art to

 7      identify a variant that arises from a chance

 8      genomic mutation as disclosed and not claimed.

 9      And as the Federal Circuit made clear in the

10      Pfizer case, as well as the PSC Computer Products

11      cases, that's 2005 and 2004, respectively, there

12      needs to be a specificity that allows that person

13      of ordinary skill in the art to understand what

14      was disclosed but not claimed.                      And that generic

15      reference to preparations that may comprise

16      mixtures of antibodies is not sufficiently

17      specific to identify the variant that's at issue

18      here.       And if Your Honor as no other questions?

19                     JUDGE DYK:       Okay, thank you.

20                     MS. FOWLER:        Thank you.

21                     JUDGE DYK:       Ms. Gordon?

22                     MS. GORDON:        Thank you, Your Honor.            I




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                                                                 Page 169

 1                   I would just like to address a couple of

 2      things that you've heard today about that this

 3      amendment did make explicit what was implicit.

 4      And I think we heard that the part of the patent

 5      at column 9 that we're relying on that discloses

 6      mixtures of different antibodies that would have

 7      different sequences applies to only Claims 15 and

 8      16 and not to Claim 1.            I'd note that 15 and 16

 9      are both dependent on Claim 1.

10                   They've accused a pharmaceutical

11      preparation of antibodies as infringing Claim 1.

12      So, I don't think they can truly say that this

13      portion of the patent at column 9 is not

14      indicative of there being two disclosed -- two

15      disclosed antibody preparations in this patent.

16      Some of which have been subcloned to the point

17      where the cell line is producing an antibody of a

18      single amino acid sequence.                But also, within this

19      patent you see that not all cell lines were

20      subcloned to that point.              And you see the passage

21      in Claim 9 where they're definitely saying an

22      embodiment of their invention is mixtures of




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                                                                    Page 170

 1      different antibodies.

 2                   JUDGE DYK:        The more the two of you

 3      talk, the more it seems to me that there may be a

 4      fact issue here as to how to interpret this

 5      specification.       And, in particular, with respect

 6      to the tangentiality argument as to whether --

 7      excuse me -- there is a difference between what

 8      the amendment was directed to and this situation

 9      with this additional item in there.                     Because what

10      they're suggesting is that if there was an error

11      in amendment, it wasn't -- it was directed to a

12      different part of the process, as I understand it,

13      right?

14                   MS. GORDON:         Yes, and I would -- I would

15      say that the part that we're relying on to show

16      that there was a narrowing is there in the

17      specification to see that both unisolated mixtures

18      of antibodies and isolated preparations of

19      antibodies are disclosed there.                     And when you put

20      the word isolated into a claim, you're excluding

21      those that are unisolated.               So, I think the spec

22      itself shows the narrowing and then you would have




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                                                                 Page 171

 1      to --

 2                   JUDGE DYK:        Well, that may be and --

 3                   MS. GORDON:         -- with the file history

 4      where you don't know where --

 5                   JUDGE DYK:        -- (inaudible) that you have

 6      a strong argument that it's a narrowing amendment.

 7      I'm not going to pass on it.                 Let's assume that

 8      you're correct about that, we're still having to

 9      deal with a tangentiality exception.

10                   MS. GORDON:         I'm not -- well, we do

11      because that's the exception that they want to

12      rely on but the tangentiality exception requires

13      there to be an objectively discernible reason on

14      the record for why the amendment was made so that

15      you can judge if the reason bears any relationship

16      to the accused equivalent.               And in an instance,

17      and you might even say it's the law of this case

18      at this point, because during claim construction,

19      everybody agreed that we couldn't find a reason in

20      this record for why this amendment was made.                    Then

21      these Warner-Jenkinson presumption kicks in.

22      Festo presumption kicks in.                That there was




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 1      surrender, that there was a reason for

 2      patentability.       And you're left with an exception

 3      that also revolves around the need to find a

 4      reason on a record and we can't find one.

 5                   JUDGE DYK:        Mm-hmm.

 6                   MS. GORDON:         And so, that should

 7      preclude them as a matter of law from relying on

 8      the doctrine of equivalents by --

 9                   JUDGE DYK:        Okay.

10                   MS. GORDON:         -- virtue of an amendment

11      that brought on prosecution history estoppel.

12                   JUDGE DYK:        Okay.       Do you want to take a

13      minute to talk about dedication-disclosure?

14                   MS. GORDON:         Yeah, I mean, as I said, I

15      think a skilled artisan reading this patent could

16      see that what's being described here are different

17      types of antibody preparations that were inclusive

18      of mixtures that would have different sequences,

19      as well as those things that they subcloned to

20      monoclonality, which would be producing an

21      antibody of a single sequence.                  Somebody reading

22      this patent can see that.              So, when the two points




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 1                   In that instance, you can imagine as an

 2      open-ended transition, you have the isolated

 3      antibodies and antibody fragments and maybe you

 4      have other antibodies.            In which case, you would

 5      have mixtures of antibodies consistent with the

 6      column 9 passage.         So, that column 9 passage,

 7      again, has nothing to do with the isolated

 8      antibodies and antibody fragments of Claim 1.

 9      Thank you, Your Honor.

10                   JUDGE DYK:        Okay, thank you.        Okay,

11      thanks, everybody.         That was well argued and it

12      was very helpful to me.             Why don't you try to come

13      up with a stipulation that we discussed maybe two

14      weeks from today.         That would be the Friday in the

15      week after Thanksgiving.              Is that doable?

16                   MR. STONE:        May I take this, Your Honor,

17      to be heard?       Absolutely, and I understand the

18      stipulation to be can we figure out how many or

19      how close can we get to how many antibodies were

20      created and tested.

21                   JUDGE DYK:        Well, you might was well

22      include in there your description of how this




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 1      works with the injecting the mouse with the factor

 2      9 and so on and so on.

 3                    MR. STONE:         Sure.

 4                    MR. PETERSON:            We're happy to do that

 5      and two weeks is fine, Your Honor, sure.                  We can

 6      certainly work with that, Your Honor.

 7                    JUDGE DYK:         Okay.       Anything else we need

 8      to discuss today?

 9                    MR. PETERSON:            No, Your Honor.

10                    MR. STONE:         Not from defendant, Your

11      Honor.      Thank you.

12                    JUDGE DYK:         Okay.       Thank you very much.

13      Have a good Thanksgiving.

14                    MR. STONE:         You, as well.

15                    JUDGE DYK:         And thanks to our court

16      reporter too.

17                    REPORTER:      Thank you, Your Honor.           Thank

18      you very much.

19                          (Whereupon, at 2:21 p.m., the

20                          HEARING was adjourned.)

21                               *   *     *     *    *

22




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